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Strain, Jacob (USAUT)

From:                          Mortensen, Kevin J. (SU) (FBI) <kjmortensen@fbi.gov>
Sent:                          Saturday, November 14, 2020 12:47 PM
To:                            Strain, Jacob (USAUT)
Subject:                       Fwd: [EXTERNAL EMAIL] - Fwd: Craig Garrick Plea Agreement



FYI 2 of 2

Kjm

-

---------- Forwarded message ----------
From: John Hardy II <johnhardyii@icloud.com>
Date: Nov 14, 2020 12:23 PM
Subject: [EXTERNAL EMAIL] - Fwd: Craig Garrick Plea Agreement
To: "Mortensen, Kevin J. (SU) (FBI)" <kjmortensen@fbi.gov>
Cc:




       Begin forwarded message:

       From: Craig Garrick <craig.jr@me.com>
       Subject: Re: Craig Garrick Plea Agreement
       Date: November 13, 2020 at 4:05:21 PM MST
       To: John Hardy <johnhardyii@icloud.com>
       Cc: Cody Done <codyldone@gmail.com>, Benjamin Jacobs <jacobsbenj@gmail.com>, Aaron
       and Jenna Gutierrez <agutie4@icloud.com>, John and Nancy Hardy <johnwhardy@gmail.com>,
       Dick and Marianne Jackson <rijackson@comcast.net>, Danny Jackson
       <dj.danieljackson@gmail.com>, jeremiah@wildstar.org

       All:

       All:

       A couple of points of clarification, because it appears John has been mislead.

       First and foremost, Reventus, LLC, the owner of the units in Fropio has not been accused or
       convicted of anything. Thus, it cannot be expelled. Second, the 100% owner of Reventus, LLC is
       Rosemary Garrick and has been from its inception. She has not been accused of anything or
       convicted of anything. Thus, it cannot be expelled. John knows this, but it makes for wonderful
       theater to air the dirty laundry of his adversary.

       There were two documents attached to John’s email. One is the allegations made by John to the
       FBI and the basis of their investigation. The second, is the actual plea agreement. As you will
       notice, the plea agreement limits the mistake I made to a single transaction involving Cody Done
       at the end of 2019. The actual guilty plea is because I did in fact not disclose to Cody what
                                                       1
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happened in 2008 in St George when I sold a house to an individual that had numerous other
mortgages and he had committed massive mortgage fraud on all of them, including the one used
to purchase the home from me.

It was an absolute mistake to not disclose this and I have taken, and do take full responsibility for
it. It was my obligation to discuss it with him and I did not. That is the reason I plead guilty to
this offense. It was a mistake and I made it.

That said, I had never met or interacted with Cody Done until John Hardy disappeared and
stopped communicating with anyone in early 2019, including Cody. In frustration, Cody called
me to find out what was going on. Later, Cody then brought his friend that wanted to buy solar
leads from Fropio, something that would have saved Fropio and all of your investment. John and
I had repeatedly discussed trying to get into the solar business with Fropio and this seemed like a
great way to save Fropio and get the solar going. I arranged with Cody and his partner to buy an
interest in Fropio, to save what we had, and then we would help finance their company to get
them financing with banks etc for their consumer sales.

The partnership would have been incredible for both companies. If only John would have
answered his phone, who knows how that would have played out. Sadly, for all of us, this didn’t
happen and now those issues have to be addressed in a lawsuit.

Now, we are left to the civil litigation to recover and hold them accountable for their actions. I
have taken responsibility for my mistakes, but it appears we will need a civil court to help them
take responsibility for theirs.

I am more than happy to discuss this with anyone that would like to talk about it. I have no
secrets to hide. My attorney and I have already defended all of these baseless charges regarding
Josh Miller’s investment in 2018. I am more than happy to do it again with people I consider
friends.

ccgj


Craig Garrick
(801) 360-7221
craig.jr@icloud.com




        On Nov 13, 2020, at 2:35 PM, John Hardy II <johnhardyii@icloud.com> wrote:

        Fropio Members,

        I received this from the FBI regarding Craig Garrick. Here is a copy for you to
        have for your records. Because of this new information regarding Craig’s
        misconduct we also will be talking about expelling Craig Garrick’s ownership
        interest (Reventus, LLC) in Fropio.

        Sincerely,

                                                  2
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    John Hardy

    <Craig Garrick Felony Information 2020-09-14.pdf><Craig Garrick Plea
    Agreement 2020-10-05.pdf>




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